       Case 2:13-cr-00607-JFB-AYS Document 1026-1 Filed 04/22/21 Page 1 of 5 PageID #:
                                          33794



                                                                        Attorney Tom
                                                                        Baker's office




Kaiser's admissions were months after he denied
signing any of them in his initial intervener reply...

                                                         Intervening in the Arizona civil litigation
                                                         on behalf of Kaiser and Berard -- while
                                                         they were all working with Jowdy in
                                                         2014...
Case 2:13-cr-00607-JFB-AYS Document 1026-1 Filed 04/22/21 Page 2 of 5 PageID #:
                                   33795
Case 2:13-cr-00607-JFB-AYS Document 1026-1 Filed 04/22/21 Page 3 of 5 PageID #:
                                   33796
Case 2:13-cr-00607-JFB-AYS Document 1026-1 Filed 04/22/21 Page 4 of 5 PageID #:
                                   33797
Case 2:13-cr-00607-JFB-AYS Document 1026-1 Filed 04/22/21 Page 5 of 5 PageID #:
                                   33798
